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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,
         v.
                                                          Criminal Action No. 19-148-1 (CKK)
 PRAKAZREL MICHEL,

              Defendant.


                                              ORDER
                                         (February 27, 2023)
        Before the Court is Defendant’s [185] Brief in Support of Advice of Counsel Defense and

the Government’s [186] Response thereto. The Court directed the parties to submit briefing in

an effort to resolve the availability of such a defense on the papers. Because the parties contest a

swath of relevant facts, the Court shall leave the resolution of this issue for trial.

        As the Court briefly explained in its [154] Omnibus Memorandum Opinion, an advice-of-

counsel defense is a factual, affirmative defense. 2022 WL 4182342, at *7 (D.D.C. Sept. 13,

2022) (citing United States v. West, 392 F.3d 450, 457 (D.C. Cir. 2004)). The viability of the

defense generally proceeds in two factual steps: (1) determining whether an attorney-client

relationship existed, and (2) if so, determining whether the attorney “act[ed] as an accomplice to

the crime” or otherwise further[ed] the alleged criminal venture. See West, 392 F.3d at 457. The

Government challenges both prongs and insists that the Court should bar Defendant from

advancing the defense “unless and until there is sufficient evidence that [George]

Higginbotham[, Esq.] did not act as a criminal co-conspirator.” ECF No. 186 at 2. At the same

time, the Government argues factually, incorporating exhibits appended to Defendant’s [185]

Brief, that Higginbotham was, in fact, a criminal co-conspirator (as the Superseding Indictment

also alleges). Id. at 4; ECF No. 84 ¶¶ 98-104 (Superseding Indictment).


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       The Court is deeply concerned that it may appropriately resolve such a factual question

without the benefit of adversarial testing. As a threshold matter, some of Defendant’s exhibits

appear to include testimonial assertions by Higginbotham adverse to Michel, e.g., ECF No. 185-

1 at 4 (FBI 302 summary of interview with Higginbotham), raising serious Confrontation Clause

issues were the Court to rely on those exhibits, see Crawford v. Washington, 541 U.S. 36, 51-52

(2004) (Scalia, J.). Determining Higginbotham was in fact a co-conspirator is to test the

adequacy of the evidence as to one of the major charged conspiracies in this case, a factual

question which at the very least merits an adversarial evidentiary hearing. See, e.g., In re Grand

Jury Subpoena, 223 F.3d 213, 219 (3d Cir. 2000) (although evidentiary hearing unnecessary in

grand-context, noting salutary effects of adversarial testing); see also generally Cary Bricker,

Revisiting the Crime-Fraud Exception to the Attorney-Client Privilege: A Proposal to Remedy

the Disparity in Protections for Civil and Criminal Privilege Holders, 82 Temple L. Rev. 149

(2009) (similar). A pretrial evidentiary hearing here would not be expedient, however, because

Higginbotham’s role in the second major charged conspiracy may establish in large part

Defendant’s criminal liability, resulting in a minitrial on the merits. Therefore, the Court will

defer ruling on the availability of an advice-of-counsel defense, i.e., whether the crime-fraud

exception to the attorney-client privilege applies here, until after Defendant has the benefit of

adversarial testing during the Government’s case in chief.

       Therefore, for practical purposes, counsel for Defendant may either: (1) reserve his

opening statement and address such a defense only if permitted after the close of the

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Government’s case-in-chief, or (2) deliver his opening statement directly after the Government

but forgo any mention of facts that may sustain an advice-of-counsel defense.

       SO ORDERED.

Dated: February 27, 2023
                                                         __/s/
                                                    COLLEEN KOLLAR-KOTELLY
                                                    United States District Judge




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